Case 3:12-cr-00032-GEC   Document 97    Filed 05/14/13   Page 1 of 1    Pageid#: 320
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                                                             ChiefU .S.D istrictJudge
               D efendant.

         It appearing that the magistrate judge has submitted a report and
   recom m endation that the defendant's guilty plea be accepted; and it further

   appearingthatnoobjectionshavebeen filedtosaidreportandrecommendation;and
   it appearing proper, it is O R D ER E D that said report and the fndings and

   recom m endation contained therein are hereby accepted in whole and the defendant

   willbeadjudgedguiltyofeach offensetowhich thedefendantenteredaguiltyplea.
   A cceptance ofthe plea agreem entis deferred,pending com pletion ofa presentence

   report.

         TheClerk isdirectedto send certified copiesofthisOrderto allparties.

                                              EN TER : M ay 14,2013
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                                              ChiefU nited States D istrictJudge
